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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


U.S. DOMINION, INC., et al.,

              Plaintiffs,

      v.                                            Civil Action No. 1:21-cv-445 (CJN)

MY PILLOW INC., et al.,


              Defendants.

      v.

SMARTMATIC USA CORP.,
SMARTMATIC INT’L HOLDING B.V.,
SGO CORPORATION LIMITED, and
HAMILTON PLACE STRATEGIES, LLC,

              Third-Party Defendants.




            PROTECTIVE ORDER REGARDING THIRD-PARTY SUBPOENAS

       This matter is before the Court on Dominion’s Motion for a Protective Order Regarding

Third-Party Subpoenas, ECF No. 145.        The Court has reviewed the Parties’ supplemental

memoranda on the issue, and it appreciates the Parties’ efforts to narrow the dispute. Upon

consideration of the Parties’ positions, the Court concludes that Dominion’s proposal, with a

modification related to where the forensic images will be stored, is appropriate. Accordingly, the

following process shall apply to the acquisition and maintenance of materials sought through

Requests 1 and 2(a) of the third-party subpoenas:

       1. Defendants will choose which counties to approach about imaging Dominion

            equipment and software and non-Dominion equipment and software that
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   communicated with the Dominion equipment and software. They may approach as few

   or as many counties as they like.

2. For each county that Defendants choose, and before embarking on the imaging,

   Defendants will obtain a certification from the county that (i) the county used Dominion

   equipment and software during the 2020 presidential election, and (ii) the Dominion

   equipment and software, and any non-Dominion equipment or software that

   communicated with the Dominion equipment and software, exist in the same form and

   condition as they did in the 2020 election.

3. The Parties will agree on a neutral third-party lab (“the Neutral”) to conduct the forensic

   imaging of the equipment and software.

4. Representatives from the Parties may be present during any imaging.

5. The Neutral will keep a log of the equipment and software imaged at each county and

   provide a copy to each Party.

6. The Parties will agree on a secure and mutually convenient location (or locations) to

   store the imaging for Defendants’ review. The Neutral will deliver the imaging to this

   location (or locations).

7. If, during the review process, Defendants determine that any part of the imaging

   discloses or could disclose a potential hack, they shall identify that part of the imaging

   for the Neutral or any agreed-upon third party, who will create a copy of the relevant

   imaging for the Defendants and Dominion, which shall be provided to both

   simultaneously.

8. All imaging will be treated as AEO under the existing protective order in this case.




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      9. Once Defendants’ review is complete, the Neutral or other agreed-upon third party will

         transport to and maintain the imaging at a secure location.

      10. If Dominion decides to review the imaging, the Neutral or other agreed-upon third party

         will transport the imaging to the offices of Dominion’s counsel, Susman Godfrey, in

         Houston, Texas. If the Neutral or other agreed-upon third party copies portions of the

         imaging at Dominion’s request, they shall provide copies to Defendants and Dominion

         simultaneously.

      11. If either Party later determines that it requires additional access to the imaging in order

         to respond to arguments from the other side, the Parties will follow the procedures set

         forth above in conducting their reviews.

      12. At the appropriate time, the imaging will be destroyed according to procedures agreed

         upon by the Parties.

IT IS SO ORDERED.



DATE: February 9, 2023                                               ________________________
                                                                     CARL J. NICHOLS
                                                                     United States District Judge




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